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 7                          UNITED STATES DISTRICT COURT
 8                         SOUTHERN DISTRICT OF CALIFORNIA
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10    STRATEGIC OPERATIONS, INC.,                       Case No.: 18-CV-189 JLS (WVG)
11                                     Plaintiff,
                                                        ORDER VACATING HEARING AND
12    v.                                                TAKING MATTER UNDER
                                                        SUBMISSION WITHOUT ORAL
13    CAROLE GIANNINI, et al.,
                                                        ARGUMENT
14                                  Defendants.
15                                                      (ECF No. 15)
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17         Presently before the Court is Defendants Carol Giannini and Glacier Technical
18   Solutions, LLC’s Motion to Stay (ECF No. 15). The Court VACATES the hearing
19   currently set for November 15, 2018, at 1:30 p.m., and takes the matter under submission
20   without oral argument pursuant to Civil Local Rule 7.1(d)(1).
21         IT IS SO ORDERED.
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23   Dated: November 7, 2018
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                                                                            18-CV-189 JLS (WVG)
